 Case: 1:08-cr-00020-WAL-GWC             Document #: 97       Filed: 02/19/09     Page 1 of 17




            IN THE DISTRICT COURT OF THE VIRGIN ISLANDS
                        DIVISION OF ST. CROIX
UNITED STATES OF AMERICA            )
                                    )
            Plaintiff,              )
                                    )                CRIMINAL NO. 2008-0020
            v.                      )
                                    )
AMON THOMAS, NATHANIEL              )
THOMAS, OKIMO MELIGAN, and          )
ANDREA SOTO                         )
                                    )
            Defendants.             )
____________________________________ )


                              MEMORANDUM OPINION
FINCH, SENIOR JUDGE

        THIS MATTER comes before the Court on Defendants’ Motion to Suppress filed on

December 29, 2008. An evidentiary hearing was held on January 26, 2009. After careful

consideration and upon review of the briefs submitted by the parties, the Court issues the

following ruling.


   I.   FACTUAL BACKGROUND


        On May 12, 2008, at approximately 8:10 a.m., Virgin Islands Police Department

(“VIPD”) Officer Samuel Abraham heard over the police radio that numerous shots had been

fired in the vicinity of Catherine’s Rest, St. Croix. Moments later, VIPD Central Control

reported the discharging of shots in the vicinity of Thomas Malloy Tire Shop in Catherine’s Rest.

See Supplement VIPD Report dated May 12, 2008. VIPD Officer Heyliger was in the area of

Catherine’s Rest at that time when a silver colored vehicle passed him at a high rate of speed

traveling south toward the South Shore Road. See id. Shortly thereafter, VIPD Sgt. Gumbs, who

                                                1
 Case: 1:08-cr-00020-WAL-GWC             Document #: 97       Filed: 02/19/09     Page 2 of 17




was also in the area, advised VIPD Central Control that he saw the silver colored vehicle turn

into a road adjacent to the Octagon House in Catherine’s Rest (No. 6-B Catherine’s Rest).

       Sgt. Gumbs, Cpl. Abraham, and Officer Heyliger then drove to the Octagon House and

proceeded down the road on which the silver colored vehicle was seen turning. At

approximately 8:17 a.m., the officers encountered a red Mitsubishi Mirage exiting the road

leading from Defendant Amon Thomas’ house. The red Mitsubishi Mirage was driving very

slowly. As the vehicle passed Cpl. Abraham’s police cruiser, he noticed that someone was lying

down in the back seat of the vehicle. The police stopped the red Mitsubishi Mirage and ordered

the occupants to exit the vehicle. The driver, Okimo Meligan, followed the orders but the

backseat passenger, Amon Thomas, indicated that he could not exit the vehicle by waiving his

hands. Amon Thomas had a puncture wound to his lower left abdomen.

       Shortly after Amon Thomas and Meligan were stopped and arrested, between 8:17 a.m.

and 8:25 a.m., Cpl. Abraham, Sgt. Gumbs, Officer Roger Roberts, and Special Agent Jim

Semrick saw Defendant Nathaniel Thomas running from behind the residence from which the

red Mitsubishi Mirage was seen leaving. They identified themselves as police officers, drew

their weapons, and ordered Nathaniel Thomas to get on the ground. After securing Nathaniel

Thomas, the officers proceeded to the back of the house to see whether anyone else was in the

area. The silver colored vehicle, which was previously seen driving at a high speed away from

the area where gun shots were heard, was parked in back of the residence. In addition, a pickup

truck was parked to the side of the house. Numerous marijuana plants were seen growing behind

and beside the house. At approximately 8:25 a.m., Nathaniel Thomas and Meligan were

transported to the Ancilmo D. Marshall Command Police Station and Amon Thomas was




                                                2
 Case: 1:08-cr-00020-WAL-GWC             Document #: 97        Filed: 02/19/09     Page 3 of 17




transported to the Governor Juan F. Luis Hospital. See Supplement VIPD Report dated May 12,

2008.

        With their weapons drawn, Sgt. Gumbs and FBI Agent Dennis Kinney proceeded to the

residence at 6-6 Catherine’s Rest and knocked on the door. Defendant Andrea Soto came to the

door and Sgt. Gumbs asked her if anyone else was in the house. Soto responded: “There is no

one else is in the house except me and my baby. You all could check.” See Testimony of Sgt.

Gumbs at Suppression Hearing, January 26, 2009. Sgt. Gumbs and Agent Kinney searched the

house to make sure nobody else was inside. Only Soto’s baby was inside the house. The

officers did not see any incriminating evidence and nothing was seized from the house at this

time.

        While Sgt. Gumbs and Agent Kinney were inside the residence, additional police officers

arrived on the scene. Sgt. Chris Howell called Superior Court Judge Francis D’Eramo and

applied for a telephonic search warrant. At approximately 9:45 a.m., Judge D’Eramo issued the

telephonic search warrant, which permitted officers to search three structures located at 6-6

Catherine’s Rest, including the house, a white trailer, and an unpainted wooden structure. See

Telephonic Search Warrant dated May 12, 2008. In addition, the telephonic search warrant

permitted officers to search three vehicles located on the property. See id.

        Upon receiving the telephonic search warrant, a thorough search of the structures and

vehicles was performed by the officers on the scene. In addition, the area around the residence

was searched, including the overgrown “bush” area behind the house as well as the adjacent

property on the northern side of 6-6 Catherine’s Rest. See Supplement VIPD Report dated May

12, 2008. During the search, the police recovered three firearms, ammunition, two speed

loaders, a gun case, gloves, a ski mask, other miscellaneous clothing, growing marijuana plants



                                                 3
 Case: 1:08-cr-00020-WAL-GWC              Document #: 97        Filed: 02/19/09      Page 4 of 17




and dried marijuana plants. The items were photographed and collected by a Forensics Officer

for safekeeping and further processing. See Supplement VIPD Report dated May 12, 2008



   II.      STOP OF THE VEHICLE OCCUPIED BY DEFENDANTS AMON THOMAS

            AND OKIMO MELIGAN

         Defendants Amon Thomas and Okimo Meligan argue that the stop of the red Mitsubishi

Mirage on May 12, 2008 occurred in violation of their rights under the Fourth Amendment.

Def.’s Mot. to Suppress at 2. Defendants submit that the stop was without reasonable suspicion

or any other legal justification. Id.

            A. Standard of Review

         The Fourth Amendment protects citizens “against unreasonable searches and seizures.”

U.S. Const., amend. IV. 2 “What is reasonable depends upon all of the circumstances

surrounding the search or seizure and the nature of the search or seizure itself.” United States v.

Montoya de Hernandez, 473 U.S. 531, 537 (1985). There is a presumptive requirement that

searches or seizures be carried out pursuant to a warrant. See Katz v. United States, 389 U.S.

347, 357 (1967) (“[S]earches conducted outside the judicial process, without prior approval by

judge or magistrate, are per se unreasonable under the Fourth Amendment -- subject only to a

few specifically established and well-delineated exceptions.”). Evidence obtained during the

course of an unreasonable search and seizure can be suppressed and not admitted at trial. See

Wong Sun v. United States, 371 U.S. 471, 485-86 (1963) (exclusionary rule requires suppression

of any evidence which is either the direct or indirect product of illegal police conduct).


         In some instances, warrantless searches or seizures will be considered reasonable if based

on probable cause. See Hill v. California, 401 U.S. 797, 804 (1971) (“[S]ufficient probability,


                                                 4
 Case: 1:08-cr-00020-WAL-GWC              Document #: 97       Filed: 02/19/09      Page 5 of 17




not certainty, is the touchstone of reasonableness under the Fourth Amendment”). For example,

police officers may lawfully arrest a suspect without a warrant if the officer has probable cause

to believe the suspect has committed a felony and the arrest does not occur in the suspect’s

home. See Maryland v. Pringle, 540 U.S. 366, 373-74 (2003) (upholding warrant-less arrest

where police had probable cause to believe defendant had committed a felony after they found

cocaine within his reach); Michigan v. Royer, 452 U.S. 692, 700 (1981) (Every arrest is

unreasonable unless supported by probable cause).


       Probable cause exists whenever reasonably trustworthy information or circumstances

within an arresting officer’s knowledge are sufficient to warrant a person of reasonable caution

to conclude that an offense has been or is being committed by the person being arrested. Draper

v. United States, 358 U.S. 307, 313 (1999); United States v. Myers, 308 F.3d 251, 255 (3d Cir.

2002); United States v. Laville, 480 F.3d 187, 194 (3d Cir. 2007). While “probable cause to

arrest requires more than mere suspicion…it does not require that the officer have evidence

sufficient to prove guilt beyond a reasonable doubt.” Orsatti v. New Jersey State Police, 71 F.3d

480, 482-83 (3d Cir. 1995).


       Even in the absence of probable cause, an officer may “stop and briefly detain a person

for investigative purposes if the officer has a reasonable suspicion supported by articulable facts

that criminal activity ‘may be afoot.’” United States v. Sokolow, 490 U.S. 1, 7 (1989) (quoting

Terry v. Ohio, 392 U.S. 1, 30 (1968)). Accordingly, an officer may stop a mobile vehicle to

investigate a reasonable and articulable suspicion that its occupants were involved in criminal

activity. United States v. Cuevas-Reyes, 2008 U.S. Dist. LEXIS 14523 at *6-7 (D.V.I. 2008)

(citing Ornelas v. United States, 517 U.S. 690, 693 (1996) and United States v. Hensley, 469

U.S. 221, 226-27 (1985)).

                                                 5
 Case: 1:08-cr-00020-WAL-GWC              Document #: 97       Filed: 02/19/09      Page 6 of 17




       Reasonable suspicion has been described as “a particularized and objective basis for

suspecting the person stopped of criminal activity.” Cuevas-Reyes, 2008 U.S. Dist. LEXIS

14523 at *7 (citing Ornelas, 517 U.S. at 695). The totality of the circumstances of each case are

considered by the courts to determine whether reasonable suspicion exists. United States v.

Arvizu, 534 U.S. 266, 273-74 (2002). Police officers may use their own experience and training

“to make inferences . . . and deductions about the cumulative information available to them that

might well elude an untrained person.” Cuevas-Reyes, 2008 U.S. Dist. LEXIS 14523 at *7

(quoting Arvizu, 534 U.S. at 273-74). However, reasonable suspicion may not be based on an

officer’s hunch alone. Cuevas-Reyes, 2008 U.S. Dist. LEXIS 14523 at *7. The likelihood of

criminal activity required for reasonable suspicion need not rise to the level required for probable

cause. Id.; Arvizu, 534 U.S. at 273-74.


       Reasonable suspicion and probable cause are determined with reference to the facts and

circumstances within the officer’s knowledge at the time of the investigative stop or arrest.

Devenpeck v. Alford, 543 U.S. 146, 152 (2004); Florida v. J.L., 529 U.S. 266, 271, (2000);

Laville, 480 F.3d. at 194. The validity of an investigative stop or arrest does not depend on

whether the suspect actually committed a crime. See Gerstein v. Pugh, 420 U.S. 103, 119-123

(1975); see also Arvizu, 534 U.S. at 277 (“[a] determination that reasonable suspicion exists . . .

need not rule out the possibility of innocent conduct”). The appropriate inquiry, rather, is

whether the facts and circumstances within the officer’s knowledge at the time of an

investigative stop or arrest objectively justify that action. Devenpeck, 543 U.S. at 153; Pringle,

540 U.S. at 371; Whren v. United States, 517 U.S. 806, 813, (1996).


       “Courts must never lose sight of the fundamental principle that ‘reasonable suspicion and

probable cause…are commonsense, nontechnical conceptions that deal with the factual and

                                                 6
 Case: 1:08-cr-00020-WAL-GWC              Document #: 97         Filed: 02/19/09      Page 7 of 17




practical considerations of everyday life on which reasonable and prudent men, not legal

technicians, act.’” Laville, 480 F.3d. at 196 (quoting Ornelas, 517 U.S. at 695 and Illinois v.

Gates, 462 U.S. 213, 231 (1983)). The Third Circuit has held that district courts “must apply a

common sense approach, based on the totality of the circumstances” to determine whether there

is reasonable suspicion or probable cause. See Paff v. Kaltenbach, 204 F.3d 425, 436 (3d Cir.

2000); Sharrar v. Felsing, 128 F.3d 810, 818 (3d Cir. 1997).



           B. Discussion

       Considering the facts of this case together with all reasonable inferences, the Court finds

that by the time Amon Thomas and Meligan approached the police officers in the Catherine’s

Rest area, the officers had, at the very least, reasonable suspicion to believe that criminal activity

was taking place. See Terry, 392 U.S. at 27; Laville, 480 F.3d. at 195. The officers were aware

that numerous gun shots were fired in the Catherine’s Rest area and, soon after the shots were

fired, a silver colored vehicle traveling at a high rate of speed was seen turning onto the same

roadway from which Defendants’ red Mitsubishi Mirage was exiting.

       Before the officers stopped Amon Thomas and Meligan on the roadway leading to 6-6

Catherine’s Rest, Cpl. Abraham saw Amon Thomas laying down in the back seat of the red

vehicle. See Testimony of Cpl. Abraham at Suppression Hearing, January 26, 2009. Cpl.

Abraham reasonably believed that Amon Thomas was attempting to evade police detection by

hiding in the back of the red vehicle. These circumstances gave rise to a reasonable suspicion

and the officers were justified in performing an investigative stop of Amon Thomas and

Meligan. See United States v. Sharpe, 470 U.S. 675, 682 n.3 (1985); see also Arvizu, 534 U.S.

at 274 (explaining that degree of certainty required to establish reasonable suspicion is less than



                                                  7
 Case: 1:08-cr-00020-WAL-GWC              Document #: 97        Filed: 02/19/09     Page 8 of 17




that required for probable cause); Maryland v. Wilson, 519 U.S. 408, 414 (1997) (holding that

officers could not only stop passengers but order them out of the vehicle during a lawful stop

without violating their Fourth Amendment rights). Because there was objectively reasonable

suspicion based on articulable facts, the Court finds that the officers’ stop of Amon Thomas and

Meligan was legally justified and did not violate Defendants’ Fourth Amendment rights. See

Michigan v. DeFillippo, 443 U.S. 31, 35 (1979).


   III. STOP OF DEFENDANT NATHANIEL THOMAS


       Upon stopping the Red Mitsubishi Mirage, the officers saw that Amon Thomas had a

puncture wound to his lower left abdomen which was bleeding profusely. The officers

reasonably believed that Defendant Amon Thomas had been shot. Shortly thereafter, police

officers saw Defendant Nathaniel Thomas running from behind the property at 6-6 Catherine’s

Rest. As a general rule, it is not unlawful for officers outside the curtilage to observe what

occurs thereon. United States v. Chun Yen Chiu, 857 F. Supp. 353, 359 (D.N.J. 1993); see

Ramsey v. United States, 278 F.2d 368, 369 (6th Cir. 1960). The Court finds that the police

officers had reasonable suspicion to detain Defendant Nathaniel Thomas at this time, considering

the facts that the officers were in the area investigating a recent shooting and the red Mitsubishi

Mirage, which held an individual who had recently been shot, was stopped moments before,

leaving the property.


   IV. SEARCH OF THE YARD AROUND THE RESIDENCE


       Upon detaining Defendant Nathaniel Thomas, police officers proceeded to the back of

the residence to make sure nobody else was in the area. At this time, the officers were on the

property located at 6-6 Catherine’s Rest based on reasonable suspicion and the Court finds that,

                                                 8
 Case: 1:08-cr-00020-WAL-GWC             Document #: 97        Filed: 02/19/09     Page 9 of 17




under the circumstances, the officers were not required to leave the area and secure a warrant

before looking around the house in an effort to secure their safety. See United States v. Singer,

687 F.2d 1135, 1144 (8th Cir. 1982). Factors that seem relevant in this case include the degree

of urgency involved and the possibility of danger to police officers guarding the site while a

search warrant was sought. See Rubin, 474 F.2d at 268.


       The Court notes that there exists an expectation of privacy as to the area surrounding a

residence or home. Chun Yen Chiu, 857 F. Supp. at 359; see Payton v. New York, 445 U.S. 573,

589-90 (1980); Oliver v. United States, 466 U.S. 170, 180 (1984); United States v. Velasquez,

626 F.2d. 314, 316-317 (3d Cir. 1980). However, police officers were justified in conducting a

protective sweep around the outside of the residence at 6-6 Catherine’s Rest during which they

saw the marijuana plants and firearm in plain view. The Supreme Court established that officers

may conduct a protective sweep when “the searching officer 'possessed a reasonable belief based

on specific and articulable facts which, taken together with the rational inferences from those

facts, reasonably warranted the officer in believing' that the area swept harbored an individual

posing a danger to the officer or others.” Maryland v. Buie, 494 U.S. 325, 327 (1990); see

United States v. Morgan, 2000 U.S. Dist. LEXIS 15905 at *21 (E.D. Pa. Oct. 20, 2000).


       Considering the facts that one individual had been shot and another had come running

from behind the house, it was reasonable for officers to believe that another person may be

located around the residence and may either pose an additional threat or be in need of assistance.

Because the officers’ protective sweep of the area outside of the residence was a reasonable

means of ensuring that no potentially dangerous and unknown individuals were in the vicinity,

the Court finds it permissible under the Fourth Amendment. Morgan, 2000 U.S. Dist. LEXIS

15905 at 22; see Coolidge v. New Hampshire, 403 U.S. 443, 465 (1971).

                                                 9
Case: 1:08-cr-00020-WAL-GWC              Document #: 97        Filed: 02/19/09      Page 10 of 17




   V. MARIJUANA SEIZED FROM AROUND THE RESIDENCE


       Police officers observed numerous marijuana plants growing beside and behind the

residence located at 6-6 Catherine’s Rest. Defendants argue that the marijuana was seized from

the property in violation of their 4th Amendment rights. Def.’s Mot. to Suppress at 5.

Defendants submit that the seizure of the marijuana was without any legal justification. Id.

       A. Standard of Review


       Items of evidence spotted in plain view may properly be seized, so long as there are

exigent circumstances and probable cause exists to believe that the items in question are

evidence of a crime or its contraband. Arizona v. Hicks, 480 U.S. 321, 326 (1987). Exigent

circumstances are present where a suspect is likely to disappear or there is a threat to the safety

of officers or the public. See Warden v. Hayden, 387 U.S. 294 (1967); United States v. Santana,

427 U.S. 38 (1976); Minnesota v. Olson, 495 U.S. 91 (1990); see also United States v. Rubin,

474 F.2d 262, 268 (3d Cir. 1972) (holding that “emergency circumstances will vary from case to

case, and the inherent necessities of the situation at the time must be scrutinized”).


       Even if exigent circumstances do not exist, if police officers are (1) legally in a location,

(2) see in plain view evidence whose incriminating character is immediately apparent, and (3)

have a lawful right of access to the object, they may seize the evidence and the evidence will be

admitted. See Horton v. California, 496 U.S. 128, 136-37 (1990); Hicks, 480 U.S. 321 (1987);

United States v. Menon, 24 F.3d 550, 559 (3d Cir. 1994); United States v. Benish, 5 F.3d 20, 24

(3d Cir. 1993); United States v. Alexander, 73 F. Supp. 2d 489, 491 (E.D. Pa. 1999); United

States v. McCoy, 824 F. Supp. 467, 472 (D. Del. 1993).



                                                 10
Case: 1:08-cr-00020-WAL-GWC                Document #: 97        Filed: 02/19/09      Page 11 of 17




         Writing for a unanimous Court in Soldal v. Cook County, 506 U.S. 56, 66 (1992), Justice

White explained the intimate relationship between the “plain view” doctrine and property

interests protected by the Fourth Amendment. He stated:


         Suppose, for example, that police officers lawfully enter a house, by either complying
         with the warrant requirement or satisfying one of its recognized exceptions--e.g., through
         a valid consent or a showing of exigent circumstances. If they come across some item in
         plain view and seize it, no invasion of personal privacy has occurred. Horton, 496 U.S., at
         133-34; Brown, 460 U.S. at 739 (opinion of REHNQUIST, J.). If the boundaries of the
         Fourth Amendment were defined exclusively by rights of privacy, “plain view” seizures
         would not implicate that constitutional provision at all. Yet, far from being automatically
         upheld, “plain view” seizures have been scrupulously subjected to Fourth Amendment
         inquiry. Thus, in the absence of consent or a warrant permitting the seizure of the items in
         question, such seizures can be justified only if they meet the probable cause standard,
         Arizona v. Hicks, 480 U.S. 321, 326-327 (1987), and if they are unaccompanied by
         unlawful trespass. Horton, 496 U.S. at 136-137. That is because the absence of a privacy
         interest notwithstanding, “[a] seizure of the article . . . would obviously invade the
         owner’s possessory interest.” Id. at 134; see also Brown, supra, 460 U.S. at 739 (opinion
         of REHNQUIST, J.). The plain view doctrine “merely reflects an application of
         reasonableness to the law governing seizures of property,” ibid.; Coolidge v. New
         Hampshire, 403 U.S. 443, 468 (1971); id. at 516, (White, J. concurring and dissenting).

Soldal, 506 U.S. at 66; see United States v. Conley, 856 F. Supp. 1010, 1018-1019 (W.D. Pa.

1994).


         B. Discussion


         In this case, the Court finds that the police officers satisfied the requirements of the “plain

view” doctrine when they saw the marijuana plants to the side and in back of the residence

located at 6-6 Catherine’s Rest. The police officers took no steps beyond the scope of their

protective sweep to discover the marijuana plants growing around the house. All of the

marijuana plants were out in the open and in plain view when the officers walked around the

house. The officers neither moved nor handled any objects in order to locate the plants.

Furthermore, the officers’ collective experience made the incriminating nature of the marijuana



                                                   11
Case: 1:08-cr-00020-WAL-GWC             Document #: 97        Filed: 02/19/09     Page 12 of 17




plants immediately apparent. As Officer Gumbs testified at the suppression hearing, he

recognized that the plants were marijuana upon seeing them growing in the back and to the side

of the house. See Benish, 5 F.3d at 25; United States v. Sculco, 82 F. Supp. 2d 410, 419 (E.D.

Pa. 2000). Because the marijuana plants were in plain view and the police officers were legally

on the property when they saw such items, the officers had a lawful right of access to such

evidence. Therefore, the Court finds that the marijuana plants confiscated from around the

residence located at 6-6 Catherine’s Rest are admissible under the plain view doctrine.


   VI. SEARCH OF THE RESIDENCE


       Defendants argue that the search of the residence located at 6-6 Catherine’s Rest was not

legally justified and violated their 4th Amendment rights. Def.’s Mot. to Suppress at 5.

       A. Standard of Review


       The Fourth Amendment generally prohibits the warrantless entry into a person's home,

either to search or to make an arrest. See Illinois v. Rodriguez, 497 U.S. 177, 181 (1990).

“Freedom from intrusion into the home or dwelling is the archetype of the privacy protection

secured by the Fourth Amendment.” Payton v. New York, 445 U.S. 573, 587 (1979). To search

a person's home, the police must ordinarily get a warrant based on probable cause. See id. at 586.

Warrantless searches are presumptively unreasonable under the Fourth Amendment. See id.

However, certain circumstances can excuse the warrant requirement, including exigent

circumstances, police safety, and consent to the search by one with the power to give such

consent. See United States v. Burton, 193 F.R.D. 232, 242-241 (E.D. Pa. 2000); Parkhurst v.

Trapp, 77 F.3d 707, 711 (3d Cir. 1996); Warden v. Hayden, 387 U.S. 294, 298-99, (1967);

Rodriguez, 497 U.S. at 181.

                                                12
Case: 1:08-cr-00020-WAL-GWC              Document #: 97        Filed: 02/19/09     Page 13 of 17




       The Fourth Amendment prohibitions “do not apply . . . to situations in which voluntary

consent has been obtained, either from the individual whose property is searched . . . or from a

third party who possesses common authority over the premises . . . .” Rodriguez, 497 U.S. at

181. One need not waive one’s Fourth Amendment rights knowingly or intelligently, but, rather,

one need only be acting voluntarily, which is “a question of fact to be determined from the

totality of all the circumstances.” Schneckloth v. Bustamonte, 412 U.S. 218, 241 (1973); Sculco,

82 F. Supp. 2d at 420. The Fourth Amendment only gives a citizen the right to be free from

unreasonable searches, and not the right to be free from any warrantless search or searches in

general. Sculco, 82 F. Supp. 2d at 420. If a defendant freely and voluntary consents to a search,

the search is lawful. United States v. Kim, 27 F.3d at 955 (3d Cir. 1994); see also United States

v. Kikumura, 918 F.2d 1084, 1093 (3d Cir. 1990) (“a search undertaken pursuant to voluntary

consent is not unconstitutional”); Sculco, 82 F. Supp. 2d at 419-420 (holding that it is a clear

principal of law that warrantless searches may be conducted where suspect has consented

voluntarily).


       B. Discussion


         The question before the Court is whether Andrea Soto, who came to the door of the

residence located at 6-6 Catherine’s Rest, permitted officers to search of the premises when she

responded to the their question, “Is there anyone else in the house,” by stating, “There is no one

else in the house except me and my baby. You all could check.” See Testimony of Sgt. Gumbs

at Suppression Hearing, January 26, 2009. To determine whether voluntary consent was given,

the Court must employ an objective, reasonableness, standard. See Rodriguez, 497 U.S. at 186.

The question is not whether the Soto actually consented, but, rather whether a reasonable police



                                                 13
Case: 1:08-cr-00020-WAL-GWC              Document #: 97        Filed: 02/19/09      Page 14 of 17




officer would have believed that she had. As the United States Supreme Court in Rodriguez

explained:


       Because many situations which confront officers in the course of executing their duties
       are more or less ambiguous, room must be allowed for some mistakes on their part. But
       the mistakes must be those of reasonable men, acting on facts leading sensibly to their
       conclusions of probability.

Rodriguez, 497 U.S. at 186 (quoting Brinegar v. United States, 338 U.S. 160, 176 (1949)). All

that the Fourth Amendment requires is that law enforcement officials decide the issue of consent

in a reasonable manner.


       Under the totality of the circumstances, the Court finds that the officers were reasonable

in concluding that Soto voluntarily consented to the search of the residence. The Court finds that

her consent was given intelligently, in the absence of duress or coercion, express or implied, and

was unequivocal, when she stated, “You all could check.” Furthermore, even though the Court

finds that Soto gave her consent to search both knowingly and intelligently, one need only be

acting voluntarily when consent is given. Schneckloth, 412 U.S. at 241; Sculco, 82 F. Supp. 2d

at 420. There is no evidence to suggest that Soto’s consent was involuntary. Therefore, the

Court finds that the initial search of the house located at 6-6 Catherine’s Rest was justified

because there was voluntary consent to search.




   VII.      SEARCH OF OVERGROWN AREA BEHIND THE PROPERTY


       Police officers recovered numerous items of evidence from the overgrown “bush” area

located behind the property at 6-6 Catherine’s Rest. Defendants argue that the items seized must




                                                 14
Case: 1:08-cr-00020-WAL-GWC               Document #: 97        Filed: 02/19/09      Page 15 of 17




be suppressed because the search of the overgrown area was not legally justified and violated

their 4th Amendment rights. Def.’s Mot. to Suppress at 5.


       A. Standard of Review


       “[N]o expectation of privacy legitimately attaches to open fields.” Oliver v. United

States, 466 U.S. 170, 180 (1984). “[O]pen fields do not provide the setting for those intimate

activities that the [Fourth] Amendment is intended to shelter from government interference or

surveillance. There is no societal interest in protecting the privacy of those activities, such as the

cultivation of crops, that occur in open fields.” Id. at 179. Therefore, the Fourth Amendment’s

protection of “persons, houses, papers, and effects” from unreasonable searches and seizures

does not apply to open fields and no warrant is required to search an open field.


       Under the “open fields” doctrine, any property beyond the curtilage is not afforded

Fourth Amendment protection. Id. at 180. The “curtilage” is described as an area that “harbors

the intimate activity associated with the sanctity of one’s home and the privacies of life.” United

States v. Dunn, 480 U.S. 294, 300 (1987) (quotation omitted). Whether property is within the

curtilage is a question of fact. United States v. Benish, 5 F.3d 20, 23-24 (3d Cir. 1993). “[T]he

extent of curtilage is determined by factors that bear upon whether an individual reasonably may

expect that the area in question should be treated as the home itself,” including such factors as:


       (1) "the proximity of the area claimed to be curtilage to the home";
       (2) "whether the area is included within an enclosure surrounding the home";
       (3) "the nature of the uses to which the area is put"; and
       (4) "the steps taken by the resident to protect the area from observation by people passing
       by."

Dunn, 480 U.S. at 300-01.




                                                  15
Case: 1:08-cr-00020-WAL-GWC             Document #: 97       Filed: 02/19/09      Page 16 of 17




       B. Discussion


        The overgrown “bush” area located behind the property at 6-6 Catherine’s Rest was a

distance away from the home and it was not included within any enclosure surrounding the

home. Rather, the overgrown area searched behind the property, from which several items of

evidence were recovered, was outside of a barbed wire fence enclosing the residence located at

6-6 Catherine’s Rest. See Testimony of Cpl. Abraham at Suppression Hearing, January 26,

2009. Cpl. Abraham testified that there were no other residences in or near the area searched.

Because the overgrown area was not used for any residential purposes, it is not an area within

which society would reasonably expect the same privacy as within a home. The Court finds that

the overgrown “bush” area was not within the curtilage, but rather was an open field. Thus, the

officers needed neither reasonable suspicion nor probable cause to search.

       As explained above, when an officer does not violate the Fourth Amendment in arriving

at the place from which the evidence can be plainly viewed and the evidence’s incriminating

character is immediately apparent, warrantless search or seizure does not offend the Fourth

Amendment under the “plain view” doctrine. Because the open fields doctrine applied, the

officer’s presence and search of the overgrown area behind the property located at 6-6

Catherine’s Rest did not violate Defendants’ Fourth Amendment rights. Once the officers saw

the firearms in the area searched, the seizure was proper under the open fields and plain view

doctrines.



   VIII. CONCLUSION

   The Court finds that the initial stop of the vehicle occupied by Defendants Amon Thomas




                                               16
Case: 1:08-cr-00020-WAL-GWC             Document #: 97        Filed: 02/19/09     Page 17 of 17




and Okimo Meligan was justified based on reasonable suspicion. See Terry, 392 U.S. at 30. The

Motion to Suppress is denied as to the seizure of the marijuana plants growing beside and in

back of the residence located at 6-6 Catherine’s Rest because the officers did not violate

Defendants’ Fourth Amendment rights in conducting a protective sweep around the residence

and the seizure of the marijuana plants was proper under the plain view doctrine. The Motion to

Suppress is denied as to the evidence seized during the search of the residence itself because the

officers obtained voluntary consent to search the house. Finally, the Motion to Suppress is

denied as to the items of evidence obtained from the overgrown area in back of the property

located at 6-6 Catherine’s Rest because the area searched fell within the definition of an open

field. For the reasons stated herein, Defendants’ Motion to Suppress is DENIED.



       ENTERED this 18th day of February, 2009.


                                             _______________/s/_______________________
                                             HONORABLE RAYMOND L. FINCH
                                             SENIOR U.S. DISTRICT JUDGE
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